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                                                                                   2024 Nov-18 AM 11:39
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

KAYLA KINNEY,                            )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )      Case No. 2:24-cv-1440-ACA
                                         )
TASMAN CREDIT CORP.,                     )
                                         )
      Defendant.                         )

                                        ORDER
      Plaintiff Kayla Kinney filed this lawsuit against Defendant Tasman Credit

Corp., in the Circuit Court of Jefferson County, asserting that Tasman, in an attempt

to collect a debt, called her three times after she instructed it to contact her only by

mail or by email. (Doc. 1-1 at 8–9 ¶¶ 13–17). Ms. Kinney asserts that this violated

four sections of the Fair Debt Collection Practices Act (“FDCPA”): 15 U.S.C.

§ 1692c (prohibiting inconvenient communications with consumers in connection

with the collection of a debt), § 1692d (prohibiting harassing, oppressive, or abusive

conduct in connection with the collection of a debt), § 1692e (prohibiting false,

deceptive, or misleading representations or means in connection with the collection

of a debt), and § 1692f (prohibiting unfair or unconscionable means in connection

with the collection of a debt). (Id. at 10 ¶ 20).
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      After Tasman removed the case (doc. 1), the court questioned the existence of

Article III standing and ordered Tasman to show cause why the court should not

remand the case (doc. 4). Tasman responds that (1) Ms. Kinney has alleged a

concrete injury analogous to the historical tort of intrusion on seclusion, and

(2) Ms. Kinney’s claims fail on the merits, so she lacks standing. (Doc. 5). The court

finds that Ms. Kinney has standing to bring her claims in federal court. The court

therefore ORDERS Ms. Kinney to replead her complaint in conformity with Federal

Rules of Civil Procedure 8(a)(2) and 10(b), as well as the Eleventh Circuit’s

instructions about properly pleading a complaint.

      Article III of the Constitution limits federal courts to deciding “Cases” or

“Controversies.” U.S. Const. art. III, § 2. Absent a case or controversy, the court

lacks subject matter jurisdiction over a case. Hunstein v. Preferred Collection &

Mgmt. Servs., Inc., 48 F.4th 1236, 1242 (11th Cir. 2022) (en banc). As the removing

party, it is Tasman’s burden to establish the court’s jurisdiction over the case.

Lowery v. Ala. Power Co., 483 F.3d 1184, 1208 (11th Cir. 2007).

      One element of a case or controversy is standing. Hunstein, 48 F.4th at 1242.

To show standing, the plaintiff must allege facts that plausibly establish that 1) she

“experienced an injury that is concrete and particularized and actual or imminent,

2) the defendant’s conduct is the cause of the plaintiff’s injury, and 3) a decision by

the court would likely redress the plaintiff’s injury.” Green-Cooper v. Brinker Int’l,



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Inc., 73 F.4th 883, 889 (11th Cir. 2023), cert. denied sub nom. Brinker Int’l, Inc. v.

Steinmetz, 144 S. Ct. 1457 (2024). The only question in this case is whether

Ms. Kinney has alleged a concrete injury.

       “An injury is concrete if it actually exists—that is, if it is real, and not

abstract.” Hunstein, 48 F.4th at 1242 (quotation marks omitted). Intangible harms

are concrete if they have “a close relationship to a harm that has traditionally been

regarded as providing a basis for a lawsuit in English or American courts.” Id. at

1243 (quotation marks omitted). Tasman contends that the harm suffered as a result

of Ms. Kinney’s receipt of three unwanted telephone calls is closely related to the

harm suffered by a plaintiff asserting a claim of intrusion on seclusion. 1 (Doc. 5 at

6). The court agrees.

       “Intrusion upon seclusion consists of an (i) intentional intrusion (ii) into

another’s solitude or seclusion, (iii) which would be highly offensive to a reasonable

person.” Drazen v. Pinto, 74 F.4th 1336, 1345 (11th Cir. 2023) (en banc). The

Eleventh Circuit has held that the harm associated with unwanted communications


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          Tasman’s second argument is that Ms. Kinney lacks standing because it has evidence that
the debt at issue is not a consumer debt, so the FDCPA does not apply and Ms. Kinney cannot
prevail on her claims. (Doc. 5 at 7–9; see also id. at 3–4). But “standing in no way depends on the
merits of the plaintiff’s contention that particular conduct is illegal.” Bochese v. Town of Ponce
Inlet, 405 F.3d 964, 976 (11th Cir. 2005) (quotation marks omitted). “[I]n reviewing the standing
question, the court must be careful not to decide the questions on the merits for or against the
plaintiff, and must therefore assume that on the merits the plaintiff[ ] would be successful in [her]
claims.” Culverhouse v. Paulson & Co. Inc., 813 F.3d 991, 994 (11th Cir. 2016) (quotation marks
omitted). The court declines to find that Ms. Kinney lacks standing based on Tasman’s
unsubstantiated assertions about the merits of her claims.


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“generally shares a close relationship with the harm underlying the tort of intrusion

upon seclusion.” See id. (holding that a plaintiff had standing to assert claims under

the Telephone Consumer Protection Act of 1991 based on a single, unwanted text

message).

      In each of Ms. Kinney’s claims, she alleges that Tasman harmed her by calling

her despite her instruction not to do so, resulting in her receipt of inconvenient

communications and false, deceptive, or misleading representations (§§ 1692c and

1692e), and her exposure to harassing, oppressive, abusive, or otherwise unfair or

unconscionable means of collecting a debt (§§ 1692d and 1692f). (Doc. 1-1 at 9 ¶ 17,

10 ¶ 20). As such, Ms. Kinney has standing to bring these claims in federal court.

See Drazen, 74 F.4th at 1345.

      Having found that Ms. Kinney has standing, the court reviewed the complaint

and determined that it is a shotgun pleading that requires repleading. Rule 8(a)(2)

requires a complaint to include “a short and plain statement of the claim showing

that the pleader is entitled to relief.” And Rule 10(b) requires a party to “state its

claims or defenses in numbered paragraphs, each limited as far as practicable to a

single set of circumstances. . . . If doing so would promote clarity, each claim

founded on a separate transaction or occurrence . . . must be stated in a separate

count or defense.” The Eleventh Circuit has explained that pleadings “that violate

either Rule 8(a)(2) or Rule 10(b), or both, are often disparagingly referred to as



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‘shotgun pleadings.’” Weiland v. Palm Beach Cnty. Sheriff’s Office, 792 F.3d 1313,

1320 (11th Cir. 2015).

      Shotgun pleadings fall into “four rough types or categories.” Id. at 1321. The

first “is a complaint containing multiple counts where each count adopts the

allegations of all preceding counts, causing each successive count to carry all that

came before and the last count to be a combination of the entire complaint.” Id. The

second is a complaint “replete with conclusory, vague, and immaterial facts not

obviously connected to any particular cause of action.” Id. at 1322. The third is one

that does “not separat[e] into a different count each cause of action or claim for

relief.” Weiland, 792 F.3d at 1323. And the fourth type of complaint “assert[s]

multiple claims against multiple defendants without specifying which of the

defendants are responsible for which acts or omissions, or which of the defendants

the claim is brought against.” Id.

      The Eleventh Circuit has repeatedly and vehemently condemned shotgun

pleadings. See Estate of Bass v. Regions Bank, 947 F.3d 1352, 1356 n.3 (11th Cir.

2020) (“As of 2008, [the Eleventh Circuit] had explicitly condemned shotgun

pleadings upward of fifty times.”) (quotation marks omitted); see also Weiland, 792

F.3d at 1321 (stating that as of 2015, the Eleventh Circuit had published more than

sixty opinions about shotgun pleadings). The Court strongly encourages “a district

court that receives a shotgun pleading [to] strike it and instruct counsel to replead



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the case—even if the other party does not move the court to strike the pleading.”

Estate of Bass, 947 F.3d at 1358.

      The complaint here is a shotgun pleading of the third type. “Count One”

asserts violations of four sections of the FDCPA, sometimes specifying subsections

and subparagraphs and sometimes not. (See doc. 1-1 at 10 ¶ 20). It is exceedingly

difficult for the court to understand precisely what claims Ms. Kinney brings against

Tasman. Accordingly, the court ORDERS Ms. Kinney to replead in conformity with

Rules 8(a)(2) and 10(b) and the Eleventh Circuit’s instructions about pleading a

complaint. See, e.g., Weiland, 792 F.3d at 1320. Ms. Kinney must file the amended

complaint on or before December 2, 2024. Tasman must file its responsive pleading

on or before December 16, 2024.

      The court reminds Ms. Kinney that “[a] party may amend its pleading once as

a matter of course.” Fed. R. Civ. P. 15(a)(1) (emphasis added). The repleaded

complaint will be Ms. Kinney’s only opportunity to amend as a matter of

course. After the first amendment, “a party may amend its pleading only with the

opposing party’s written consent or the court’s leave.” Fed. R. Civ. P. 15(a)(2).

      DONE and ORDERED this November 18, 2024.



                                     _________________________________
                                     ANNEMARIE CARNEY AXON
                                     UNITED STATES DISTRICT JUDGE



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